Dear Secretary Carnahan:
This opinion letter responds to your request dated February 14, 2011, for our review under § 116.334, RSMo, of a proposed summary statement prepared for the petition submitted by Matt Cologna regarding a proposed amendment to amend Chapter 115, Revised Statutes of Missouri (version 3). The proposed summary statement is as follows:
  Shall Missouri law be amended to expand options for voters by allowing them to cast ballots in person prior to federal general elections without the current absentee ballot excuse requirement?
Pursuant to § 116.334, RSMo, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the petition, nor as the expression of any view regarding the objectives of its proponents.
                                              Very truly yours,
                                              _________________________ CHRIS KOSTER Attorney General *Page 1 